Richard D. Monkman
rdm@sonosky.net
Lloyd B. Miller
lloyd@sonosky.net
Whitney A. Leonard
whitney@sonosky.net
Sonosky, Chambers, Sachse,
  Miller & Monkman, LLP
510 L Street, Suite 310
Anchorage, Alaska 99501
Telephone: (907) 258-6377

Attorneys for Tlingit & Haida

                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA

 STATE OF ALASKA,                      )
                                       )
              Plaintiff,               )
                                       )
       v.                              )   Case No. 3:23-cv-00007-SLG
                                       )
 BRYAN NEWLAND et al.,                 )
                                       )
              Defendants,              )
                                       )
       and                             )
                                       )
 CENTRAL COUNCIL OF TLINGIT &          )
 HAIDA INDIAN TRIBES OF                )
 ALASKA,                               )
                                       )
              Intervenor-Defendants.   )

  TLINGIT & HAIDA’S CONSOLIDATED CROSS-MOTION FOR SUMMARY
     JUDGMENT, MEMORANDUM IN SUPPORT, AND OPPOSITION TO
       STATE OF ALASKA’S MOTION FOR SUMMARY JUDGMENT




        Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 1 of 39
                                             TABLE OF CONTENTS

INTRODUCTION ............................................................................................................... 1

BACKGROUND ................................................................................................................. 3

         I.        TLINGIT & HAIDA’S CONNECTION TO THE TRUST
                   LAND ............................................................................................................ 3

         II.       NATIVE LAND TENURE IN ALASKA ..................................................... 5

ARGUMENT..................................................................................................................... 10

         I.        THIS CASE DOES NOT IMPLICATE THE MAJOR
                   QUESTIONS DOCTRINE. ........................................................................ 10

         II.       EVEN IF A CLEAR STATEMENT WERE NEEDED, THE
                   IRA CLEARLY GIVES THE SECRETARY THIS
                   AUTHORITY. ............................................................................................. 15

                   A.        The Grant of Authority in the IRA and the Alaska IRA
                             is Exceptionally Clear. ..................................................................... 16

                   B.        By Definition, Alaska Tribes are “Indians” Pursuant to
                             Section 19. ........................................................................................ 18

                   C.        Even if the State’s Section 19 Carcieri Test Applied,
                             Tlingit & Haida Satisfies It. ............................................................. 21

CONCLUSION ................................................................................................................. 28




                                                                 i
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

           Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 2 of 39
                                            TABLE OF AUTHORITIES

Cases

Akiachak Native Cmty. v. U.S. Dep’t of Interior, 827 F.3d 100 (D.C. Cir.
  2016) ........................................................................................................................ 18, 19

Akiachak Native Community v. Salazar, 935 F. Supp. 2d 195 (D.D.C.) ..................... 18, 20

Alaska Indus. Dev. & Exp. Auth. v. Biden, No. 3:21-CV-00245-SLG, 2023
  WL 5021555 (D. Alaska Aug. 7, 2023) ........................................................................ 12

Alaska v. Native Vill. of Venetie Tribal Gov’t, 522 U.S. 520 (1988) .............................. 8, 9

Aleknagik Natives Ltd. v. United States, 886 F.2d 237 (9th Cir. 1989) .............................. 7

Biden v. Nebraska, 143 S. Ct. 2355 (2023) ................................................................. 11, 15

Carcieri v. Salazar, 555 U.S. 379 (2009) .................................................................... 19, 20

County of Amador v. United States Department of the Interior, 872 F.3d
  1012 (9th Cir. 2017) ................................................................................................ 23, 24

County of Oneida v. Oneida Indian Nation, 470 U.S. 226 (1985) .................................... 14

Gross v. FBL Fin. Servs., Inc., 557 U.S. 167 (2009) ........................................................ 17

Hynes v. Grimes Packing Co., 337 U.S. 86 (1949) ........................................................... 14

Matsushita Elec. Indus. Co. v. Epstein, 516 U.S. 367 (1996) ........................................... 17

Mountain States Tel. & Tel. Co. v. Pueblo of Santa Ana, 472 U.S. 237
 (1985)............................................................................................................................. 19

People of South Naknek v. Bristol Bay Borough, 466 F. Supp. 870 (D.
  Alaska 1979) .................................................................................................................... 8

Posadas v. Nat’l City Bank of N.Y., 296 U.S. 497 (1936) ................................................. 18

Sackett v. E.P.A., 598 U.S. 651 (2023) ........................................................................ 11, 15

State of Alaska v. Central Council of Tlingit and Haida Indian Tribes of
  Alaska, 371 P.3d 255 (Alaska 2016) ............................................................................. 10

State of Alaska v. United States, 2016 WL 1948801 (May 3, 2016)................................. 22

                                                                  ii
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

            Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 3 of 39
Tlingit & Haida Indians of Alaska v. United States, 177 F. Supp. 452 (Ct.
   Cl. 1959) ................................................................................................................. passim

United States v. Ramsay, 271 U.S. 467 (1926) ................................................................... 8

Weisberg v. Webster, 749 F.2d 864 (D.C. Cir. 1984) ....................................................... 18

West Virginia v. E.P.A., 142 S. Ct. 2587 (2022) ............................................. 11, 12, 13, 16

Federal Statutes

25 U.S.C. § 1305(a) ............................................................................................................. 9

25 U.S.C. § 5108 ............................................................................................. 13, 16, 17, 19

25 U.S.C. § 5119 ................................................................................................... 13, 17, 20

25 U.S.C. § 5129 ............................................................................................................... 21

28 U.S.C. § 2401 ............................................................................................................... 12

43 U.S.C. § 1617(a) ............................................................................................................. 6

43 U.S.C. § 1618(a) ............................................................................................................. 7

43 U.S.C. § 1626(d) ............................................................................................................. 9

Act of May 17, 1884 § 8, 23 Stat. 24 (1884) ..................................................................... 27

Alaska Indian Reorganization Act Amendments of 1936, Pub. L. No. 74-
  538, ch. 254, §1, 49 Stat. 1250 (1936) (codified as amended at 25 U.S.C.
  § 5119) ............................................................................................................................. 1

Alaska Land Status Technical Corrections Act of 1992, Pub. L. No. 102-
  415, 106 Stat. 2112 (1992) .............................................................................................. 6

Alaska Land Transfer Acceleration Act, Pub. L. No. 108-452, tit. III, §§
  302–304, 118 Stat. 3575, 3588–90 (2004) ...................................................................... 6

Alaska National Interest Lands Conservation Act, Pub. L. No. 96-487, §
  905, 94 Stat. 2371, 2435 (1980) (codified at 43 U.S.C. § 1634) ..................................... 6

Alaska Native Allotment Act, Pub. L. No. 59-171, ch. 2469, 34 Stat. 197
  (1906)............................................................................................................................... 6


                                                                   iii
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

            Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 4 of 39
Alaska Native Claims Settlement Act, Pub. L. No. 92-203, 85 Stat. 688
  (1971) (codified as amended at 43 U.S.C. §§ 1601–1629h) ........................................... 1

Alaska Native Townsite Act, Pub. L. No. 69-280, ch. 379, 44 Stat. 629
  (1926) (formerly codified at 43 U.S.C. §§ 732–36) ........................................................ 6

Alaska Tribal Public Safety Empowerment Act, Pub. L. No. 117-103,
  subtit. B, §§ 811–13, 136 Stat. 49, 904–10 (2022) (codified in part at 25
  U.S.C. § 1305) ............................................................................................................... 10

Federal Land Policy Management Act, Pub. L. No. 94-579, 90 Stat. 2744
  (1976) (codified in part at 43 U.S.C. §§ 1701-1703) .......................................... 1, 17, 18

Federally Recognized Indian Tribe List Act of 1994, Pub. L. 103-454, tit. I,
  § 104, 108 Stat. 4791, 4792 (codified at 25 U.S.C. §§ 5130, 5131) ............................... 3

Indian Reorganization Act of 1934, Pub. L. No. 73-383, ch. 576, §5, 48
  Stat. 984, 985 (1934) (codified as amended at 25 U.S.C. § 5108). ................................. 1

John D. Dingell, Jr. Conservation, Management, and Recreation Act, Pub.
  L. No. 116-9, § 1119, 133 Stat. 580, 630–34 (2019) (codified at 43
  U.S.C. § 1629g–1) ........................................................................................................... 8

Pub. L. No. 95-487, 92 Stat. 1635 (1978) ........................................................................... 7

Tlingit and Haida Claims Authorization Act, Pub. L. 74-152, § 8, 49 Stat.
  388, 390 (1935), as amended by Pub. L. 89-130, 79 Stat. 543, 544 (1965) .............. 3, 29

State Statutes

Alaska Tribal Recognition Act, AS 01.15.100 .................................................................... 3

Federal Rules and Regulations

25 C.F.R. pt. 151................................................................................................................ 12

Indian Entities Recognized by and Eligible To Receive Services From the
  United States Bureau of Indian Affairs, 88 Fed. Reg. 2112 (Jan. 12,
  2023) ................................................................................................................................ 3

Land Acquisitions in the State of Alaska, 79 Fed. Reg. 76888 (Dec. 23,
  2014) ........................................................................................................................ 10, 18



                                                                   iv
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

            Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 5 of 39
Land Acquisitions; Craig Tribal Association, Craig, Alaska, 82 Fed. Reg.
  4915 (Jan. 17, 2017) ........................................................................................................ 7

Other Authorities

“Traditional Tlingit Country, Tlingit Tribes, Clans and Clan Houses,”
  University of Alaska, Alaska Native Knowledge Network,
  http://www.ankn.uaf.edu/ancr/southeast/tlingitmap/TlingitMap.pdf (last
  visited Oct. 11, 2023) .................................................................................................... 26

Alaska Native Allotment Act Entitlements, Bureau of Land Mgmt.,
  https://www.blm.gov/programs/lands-and-realty/regional-
  information/alaska/land_transfer/ak-native-allotment-act (last visited
  Oct. 11, 2023) .................................................................................................................. 8

Annual Report of the Commissioner of Indian Affairs to the Secretary of the
  Interior for the Year 1875 (1875) .................................................................................. 26

Annual Report of the Department of the Interior, “Origin of the Kake War”
  (1870)............................................................................................................................. 27

Arnold, Robert B., ALASKA NATIVE LAND CLAIMS (1978) .............................................. 10

Elder reveals the history, knowledge embedded in Tlingit place names,
  Sealaska Heritage Foundation: Blog,
  https://www.sealaskaheritage.org/node/438 (last visited Oct. 11, 2023) ........................ 4

Goldschmidt, Walter R. & Haas, Theodore H., HAA AANÍ / OUR LAND:
  TLINGIT AND HAIDA LAND RIGHTS AND USE (1998) ...................................................... 5

HAIDA GWAII: HUMAN HISTORY AND ENVIRONMENT FROM THE TIME OF
 THE LOON TO THE TIME OF THE IRON PEOPLE (Daryl W. Fedje & Rolf W.
 Mathewes eds., 2005) ...................................................................................................... 3

Jones, Z., Search For and Destroy: U.S. Army Relations with Alaska’s
  Tlingit Indians and the Kake War of 1869, ETHNOHISTORY 60:1 (Winter
  2013) ........................................................................................................................ 25, 26

Krause, Aurel, THE TLINGIT INDIANS (1956) .................................................................. 4, 5

Nat’l Park Serv. Am. Battlefield Prot. Program, The 1869 Bombardment of
  Ḵaachx̱an.áakʼw from Fort Wrangell: The U.S. Army Response to Tlingit
  Law, Wrangell, Alaska (July 2015) ............................................................................... 27


                                                                   v
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

            Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 6 of 39
Newton, Nell Jessup, ed. COHEN’S HANDBOOK OF FEDERAL INDIAN LAW
  (2005 ed.) ......................................................................................................................... 8

Our History, Central Council Tlingit & Haida Indian Tribes of Alaska,
  http://www.ccthita.org/about/history/index.html (last visited Oct. 11,
  2023) ................................................................................................................................ 4

Shelling of the Alaskan Native American Village of Angoon, October 1882,
  U.S. Naval History and Heritage Command (Oct. 30, 2017),
  https://www.history.navy.mil/research/library/online-reading-room/title-
  list-alphabetically/s/shelling-of-the-alaskan-native-american-village-of-
  angoon-october-1882.html ............................................................................................ 27

Tlingit & Haida, Tribal Enrollment Report (Sept. 7, 2023),
  https://www.ccthita.org/services/enrollment/TribalEnrollmentReport.pdf. .................... 5

U.S. Bureau of Ed., Work of the Bureau of Education for the Natives of
  Alaska (1925) ................................................................................................................. 24

U.S. Dep’t of Interior, Solic.’s Op. M-26915, Status of Alaska Natives,
  reproduced in I OP. SOLICITOR 303 (1932) ................................................................... 29

U.S. Dep’t of Interior, Solic.’s Op. M-36795, Governmental Jurisdiction of
  Alaska Native Villages Over Land and Nonmembers (Jan. 11, 1993) .................... 6, 7, 8

U.S. Dep’t of Interior, Solic.’s Op. M-37029, The Meaning of “Under
  Federal Jurisdiction” for Purposes of the IRA (Mar. 12, 2014) ............................. 23, 24

U.S. Dep’t of Interior, Solic.’s Op. M-37070, Withdrawal of Certain
  Solicitor M-Opinions, Reinstatement of Sol. Op. M-37029 The Meaning
  of ‘Under Federal Jurisdiction’ for Purposes of the Indian Reorganization
  Act, and Announcement Regarding Consultation on “Under Federal
  Jurisdiction” Determinations (Apr. 27, 2021) .............................................................. 23

U.S. Dep’t of Interior, Solic.’s Op. M-37076, The Secretary’s Land into
  Trust Authority for Alaska Natives and Alaska Tribes Under the Indian
  Reorganization Act and the Alaska Indian Reorganization Act (Nov. 16,
  2022) .................................................................................................................. 16, 20, 21

U.S. Dep’t of Interior, Solic.’s Op., Leasing of Lands within Reservations
  in Alaska, 49 L.D. 592 (1923), reproduced in II OPINIONS OF THE
  SOLICITOR OF THE DEPARTMENT OF THE INTERIOR RELATING TO INDIAN


                                                                   vi
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

            Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 7 of 39
   AFFAIRS 1917-1974, at 2076 (“OP. SOLICITOR”), available at
   https://thorpe.law.ou.edu/solicitor.html (last visited Oct. 15, 2023) ............................. 29

U.S. Gov’t Accountability Off., GAO-22-104627, Native American
  Veterans: Improvements to VA Management Could Help Increase
  Mortgage Loan Program Participation (2022) ............................................................... 8

Wright, Charles Alan, & Miller, Arthur R., FEDERAL PRACTICE AND
 PROCEDURE § 3533.10.3 (3d ed. 2008) ......................................................................... 18




                                                      vii
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 8 of 39
                                        INTRODUCTION

        Section 5 of the Indian Reorganization Act of 1934 (IRA) 1 and Section 1 of the

Alaska Indian Reorganization Act Amendments of 1936 (Alaska IRA) 2 expressly authorize

the Secretary of the Interior to take land into trust for the benefit of Alaska Native Tribes.

These IRA sections have never been repealed, including by the 1971 Alaska Native Claims

Settlement Act (ANCSA),3 the 1976 Federal Land Policy Management Act (FLPMA), 4 or

any other provision of law. Nowhere does the State argue otherwise.

        As such, it is impossible to credit the State’s principal argument that the Secretary’s

trust acquisition for the Tlingit & Haida Indian Tribes is incompatible with some master

plan developed by Congress in 1971 to address Alaska Native land tenures in one way, and

one way only. There never was such a plan. Instead, history has witnessed a succession

of different congressional approaches to Alaska Native land tenure, almost all of which

survive today, each addressing different perceived needs and changing policies, and all

compatible with the continued presence and addition of new trust or restricted lands. The

Secretary’s action on review here falls comfortably within that long, rich, and diverse

tradition.


1
  Pub. L. No. 73-383, ch. 576, §5, 48 Stat. 984, 985 (1934) (codified as amended at 25
U.S.C. § 5108).
2
   Pub. L. No. 74-538, ch. 254, §1, 49 Stat. 1250 (1936) (codified as amended at 25 U.S.C.
§ 5119).
3
  Pub. L. No. 92-203, 85 Stat. 688 (1971) (codified as amended at 43 U.S.C. §§ 1601–
1629h).
4
    Pub. L. No. 94-579, 90 Stat. 2744 (1976) (codified in part at 43 U.S.C. §§ 1701-1703).

                                                    1
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

         Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 9 of 39
        Tlingit & Haida fully supports the arguments presented in the Secretary’s opening

brief. As the Secretary explains, this Court is confronted with a simple legal question: Did

Congress in ANCSA implicitly repeal Section 1 of the Alaska IRA? The answer turns not

on competing visions of Alaska Native policy, but on a disciplined application of settled

law that controls whether a later statute will be found to have silently but implicitly

repealed an earlier one. As the Secretary explains well (and as discussed below), ANCSA

does not satisfy the rigorous standard for an implicit repeal; the “major questions doctrine”

cannot fill the gap left by the State’s decision not to argue implicit repeal; and the State’s

alternative theory about Section 19 of the IRA is at odds both with the plain language of

that section and the historical facts.

        This Court should therefore deny the State’s motion for summary judgment and

grant summary judgment in favor of the federal defendants and intervenor-defendant

Tlingit & Haida. In this memorandum, we provide the Court with background regarding

the Juneau trust land at issue and Tlingit & Haida, and then address the merits of the State’s

principal arguments.5




5
  Tlingit & Haida adopts the standard of review presented in the Secretary’s brief, Dkt. 19
(“Secretary’s brief”).

                                                    2
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

        Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 10 of 39
                                         BACKGROUND

I.      Tlingit & Haida’s Connection to the Trust Land

        Tlingit & Haida is a State-recognized6 and federally-recognized7 Tribe comprised

of the two indigenous peoples of Southeast Alaska, the Lingít and the Haida. The Lingít

have a vast history in the region, stretching back over 11,000 years, and were long

established throughout Southeast Alaska when European explorers and traders first arrived

during the 1700s.8 The Haida have lived in the Haida Gwaii for at least 12,500 years and

came to Southeast Alaska’s southern reaches in ancient times. 9 As President Richard




6
   See Alaska Tribal Recognition Act, AS 01.15.100 (“The state recognizes the special and
unique relationship between the United States government and federally recognized tribes
in the state. The state recognizes all tribes in the state that are federally recognized under
25 U.S.C. 5130 and 5131.”).
7
  See Tlingit and Haida Claims Authorization Act, Pub. L. 74-152, § 8, 49 Stat. 388, 390
(1935), as amended by Pub. L. 89-130, 79 Stat. 543, 544 (1965); Tlingit & Haida Status
Clarification Act, Pub. L. No. 103-454, tit. II, § 203, 108 Stat. 4792 (1994) (“The Congress
reaffirms and acknowledges that the Central Council of Tlingit and Haida Indian Tribes of
Alaska is a federally recognized Indian tribe.”); see also Federally Recognized Indian Tribe
List Act of 1994, Pub. L. 103-454, tit. I, § 104, 108 Stat. 4791, 4792 (codified at 25 U.S.C.
§§ 5130, 5131); Indian Entities Recognized by and Eligible To Receive Services From the
United States Bureau of Indian Affairs, 88 Fed. Reg. 2112, 2115 (Jan. 12, 2023) (listing
Tlingit & Haida).
8
  See Decl. of Richard Chalyee Eesh Peterson ¶ 5, Dkt. 6-1 (“Peterson Decl.”) (“This was
once all ours.”).
9
  HAIDA GWAII: HUMAN HISTORY AND ENVIRONMENT FROM THE TIME OF THE LOON TO
THE TIME OF THE IRON PEOPLE (Daryl W. Fedje & Rolf W. Mathewes eds., 2005). For
many years, maps referred to the islands as the Queen Charlotte Islands. The Haida name—
Haida Gwaii—was officially restored in 2010.

                                                    3
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

        Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 11 of 39
Peterson testified, “We have been here since the beginning of time, and we will be here

until the end of time.”10

         The trust land at issue is squarely within the Lingít Aaní, the traditional Lingít

territory, which stretches from north of Yakutat to south of Ketchikan and encompasses all

of the City and Borough of Juneau.11 More particularly, it is in the historic “Juneau Indian

Village,” now known as the Áak’w Village, a roughly four-acre stretch of former

beachfront and tidelands.12 This area was traditionally used seasonally by the Lingít Áak’w

Kwáan for fishing and other subsistence activities, 13 and called Dzántik’i Héeni, or

“precious water for the starry flounder.” 14 During the Gold Rush era, the Village grew into




10
     Peterson Decl. ¶ 8.
11
  AR0000011 (Notice of Decision) (“The Tribe’s ancestors used areas in and around
Southeast Alaska, including the area now known as Juneau, as their traditional and cultural
homeland since time immemorial. [Lot 15] is situated within the traditional Juneau Indian
Village, or Ling[í]t Aan[í] as it is known by the Tribe.”); see generally Peterson Decl. ¶¶ 4,
6–7.
12
   Dkt. 6-5 at 2–3 (maps of Juneau Indian Village and Southeast Alaska); Our History,
Central      Council       Tlingit    &    Haida      Indian      Tribes     of      Alaska,
http://www.ccthita.org/about/history/index.html (last visited Oct. 11, 2023); see also Aurel
Krause, THE TLINGIT INDIANS 50-52 (1956) (“Krause”). The Áak’w Village is within the
traditional territory of the Lingít Áak’w Kwáan, and near the traditional territory of their
neighbors, the T’aaku Kwáan. Peterson Decl. ¶ 4.
13
     Peterson Decl. ¶¶ 4, 6–7.
14
  Elder reveals the history, knowledge embedded in Tlingit place names, Sealaska
Heritage Foundation: Blog, https://www.sealaskaheritage.org/node/438 (last visited Oct.
11, 2023) (quoting David Katzeek).

                                                    4
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 12 of 39
a permanent settlement of Lingít, Haida, and other indigenous peoples attracted by the

economic and educational opportunities of the growing Juneau community. 15

          The Áak’w Village history is detailed in Tlingit & Haida’s Motion to Intervene and

is incorporated herein by reference.16 Over the years, Tlingit & Haida has reacquired by

purchase and consolidated much of the historic Áak’w Village, including the trust land at

issue here. Tlingit & Haida’s center of operation is located in the Village, in the Andrew

Hope Building, which is “a symbol of [the] Tribe’s strength and resilience” for Tlingit &

Haida’s more than 36,000 Tribal citizens. 17 President Peterson testified to the importance

of this land being held in trust:

          The Tribe has consistently and steadfastly sought to protect our traditional
          tribal lands for future generations. Our Tribal Assembly specifically resolved
          many years ago to buy back the land in the Áak’w Village, to preserve and
          protect it for our people. As the saying goes, we look ahead seven
          generations when making important decisions. In seven generations, we hope
          our descendants will talk about how their ancestors — our generation —
          protected this land for them.[18]



15
   Peterson Decl. ¶ 6; see also id., Ex. D, Dkt. 6-6 (Áak’w Village photographs); Walter R.
Goldschmidt & Theodore H. Haas, HAA AANÍ / OUR LAND: TLINGIT AND HAIDA LAND
RIGHTS AND USE 37 (1998) (“The main village of the Auk was on Auke Bay. The Auk
people moved in large numbers from their village to Juneau after gold was discovered
there.”); Krause at 69 (“The Taku [Kwáan] have, like the Auks [Áak’w Kwáan], settled in
large numbers near the prospectors’ town on Juneau . . . known to the Tlingit as Tsenta-ka-
hini [Dzántik’i Héeni].”).
16
  See also AR0000263 (PDC Map of Juneau Indian Village); Peterson Decl. ¶¶ 2–6, 9–
11.
17
   Peterson Decl. ¶ 9; see Tlingit & Haida, Tribal Enrollment Report (Sept. 7, 2023),
https://www.ccthita.org/services/enrollment/TribalEnrollmentReport.pdf.
18
     Id. ¶ 8.

                                                    5
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

           Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 13 of 39
II.     Native Land Tenure in Alaska

        The State’s single-minded focus on ANCSA obscures the long and complex history

of Alaska Native land tenure.           The State’s presentation boils down to a non-legal

mythology—the myth that ANCSA comprehensively, exhaustively, and preemptively

reordered Alaska Native land and other rights around Alaska Native Corporations (ANCs).

Like many myths, the myth nicely suits the State’s worldview, but it is unfounded and

counterfactual.

        For one thing, the State’s telling ignores the many forms of Native land tenure in

Alaska—including trust lands held by the Department of the Interior, restricted fee parcels

issued under the Alaska Native Allotment Act,19 and restricted fee parcels issued under the

Alaska Native Townsite Act20—all of which remain today in Alaska Native trust or

restricted fee status.


19
  Pub. L. No. 59-171, ch. 2469, 34 Stat. 197 (1906). Although ANCSA repealed the
Allotment Act, it left in place thousands of then-pending Alaska Native allotment
applications. See 43 U.S.C. § 1617(a); see also, Pub. L. No. 96-487, § 905, 94 Stat. 2371,
2435 (1980) (codified at 43 U.S.C. § 1634); Pub. L. No. 102-415, 106 Stat. 2112 (1992);
Pub. L. No. 108-337, 118 Stat. 1357 (2004); Pub. L. No. 108-452, tit. III, §§ 302–304, 118
Stat. 3575, 3588–90 (2004) (all addressing the processing of Alaska Native allotments after
ANCSA). The State is simply wrong in asserting that “Congress [in ANCSA] discontinued
individual allotments.” State of Alaska’s Mot. for Summ. J. & Mem. in Supp. 46, Dkt. 16
(“State MSJ”).
20
   Pub. L. No. 69-280, ch. 379, 44 Stat. 629 (1926) (formerly codified at 43 U.S.C. §§ 732–
36). The Townsite Act was repealed, not by ANCSA in 1971, but by sections 701 and 703
of FLPMA in 1976, see 90 Stat. at 2789–90. Even then, occupants continued to receive
restricted fee title to their lots if their occupancy predated FLPMA. See AR0001055 (U.S.
Dep’t of Interior, Solic.’s Op. M-36795, Governmental Jurisdiction of Alaska Native
Villages Over Land and Nonmembers (Solicitor Sansonetti), at 129 & n.306 (Jan. 11, 1993)
(“Sansonetti”)). Remaining vacant lands within the townsites were conveyed to Alaska

                                                    6
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

        Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 14 of 39
         While ANCSA revoked the reservations that had been set aside for some Tribes, 21

it left in place all tribal trust land titles existing outside those reservations. For instance,

prior to ANCSA, the Department of the Interior held non-reservation parcels in trust for

the Organized Village of Kake, Klawock Cooperative Association, and Angoon

Community Association.22 In January 2017, the Department took a one-acre parcel into

trust for the Craig Tribal Association.23 Further reflecting the congressional understanding

that tribal trust lands in Alaska continued after ANCSA, Congress expressly legislated with

respect to such lands in the ensuing years.24

         As a consequence of these actions, ANCSA not only left in place thousands of acres

of restricted fee Alaska Native lands within townsites organized under the Alaska Native

Townsite Act, hundreds of thousands of restricted fee title lands issued under the Alaska

Native Allotment Act, and tribal trust lands; it also left in place continuing land dispositions




Native Tribes. See Aleknagik Natives Ltd. v. United States, 886 F.2d 237, 240 (9th Cir.
1989). With respect to the tribal lands, “these townsite lands have been conveyed, pursuant
to federal law, directly to Native villages in the capacity of local governments.”
AR0001049 (Sansonetti at 123 (discussing 27 Tribes that received townsite lands)); see
also AR0001055–56 (Sansonetti at 129–30 (discussing the “Indian country” status of
townsite lots for purposes of tribal jurisdiction)).
21
     43 U.S.C. § 1618(a).
22
  AR0001038 (Sansonetti at 112 n.277) (noting trust holdings for the Tribes at Kake,
Angoon and Klawock).
23
  AR0000398 –(Land Acquisitions; Craig Tribal Association, Craig, Alaska, 82 Fed. Reg.
4915 (Jan. 17, 2017)).
24
  See, e.g., Pub. L. No. 95-487, 92 Stat. 1635 (1978) (authorizing Secretary, “upon
request” of the Tribe, to convey Kake tribal “trust” lands in “fee simple”).

                                                    7
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 15 of 39
under the Allotment and Townsite Acts.25 These lands today total an estimated 1.2 million

acres, including allotments held by over 17,000 individual allotees. 26

         In other words, Congress both during and after ANCSA repeatedly looked at this

issue and specifically chose to retain restricted fee and trust land status in Alaska alongside

Alaska Native Corporation land holdings conveyed pursuant to that Act. And with

restricted fee allotments identical to trust lands for purposes of legal and jurisdictional

analyses,27 including classification as Indian country under 18 U.S.C. 1151(c), the State

cannot credibly argue that no Indian country exists in Alaska today 28—which explains why


25
     See supra nn.19–20.
26
   See Alaska Native Allotment Act Entitlements, Bureau of Land Mgmt.,
https://www.blm.gov/programs/lands-and-realty/regional-
information/alaska/land_transfer/ak-native-allotment-act (last visited Oct. 11, 2023); U.S.
Gov’t Accountability Off., GAO-22-104627, Native American Veterans: Improvements to
VA Management Could Help Increase Mortgage Loan Program Participation 35 (2022),
https://www.gao.gov/assets/gao-22-104627.pdf. Lands held in restricted status also
include: 3,850 Alaska Native Townsite lots, see GAO-22-104627, at 36; 27 Alaska Native
Village Townsites, see AR0001049 (Sansonetti at 123); 196 Alaska Native Townsites, see
AR0001055 (Sansonetti at 129); and hundreds of Alaska Native Vietnam Veterans Act
Allotments covering several thousand more acres, see generally John D. Dingell, Jr.
Conservation, Management, and Recreation Act, Pub. L. No. 116-9, § 1119, 133 Stat. 580,
630–34 (2019) (codified at 43 U.S.C. § 1629g–1).
27
   United States v. Ramsay, 271 U.S. 467, 471-72 (1926); see also People of South Naknek
v. Bristol Bay Borough, 466 F. Supp. 870, 874-75 (D. Alaska 1979) (holding that, for
purposes of federal court jurisdiction, the restricted Native townsite lots have the same
status as allotments); see also Newton, Nell Jessup, ed., COHEN’S HANDBOOK OF FEDERAL
INDIAN LAW, § 16.03[1] at 1039-40 (2005 ed.).
28
   See Alaska v. Native Vill. of Venetie Tribal Gov’t, 522 U.S. 520, 527 n.2 (1988) (“As
noted, only one Indian reservation, the Annette Island Reserve, survived ANCSA. Other
Indian country exists in Alaska post-ANCSA only if the land in question meets the
requirements of a ‘dependent Indian communit[y]’ under our interpretation of § 1151(b),
or if it constitutes ‘allotments’ under § 1151(c).” (emphasis added)). The Court in Venetie

                                                    8
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

         Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 16 of 39
the State is left complaining only that the Secretary “create[d] additional Indian country”29

or “additional ‘trust lands.’”30

         The State ignores that Congress left in place the federal-tribal trust relationship in

Alaska as the foundation for federal Indian programs in Alaska.31                 And it both

mischaracterizes and understates the importance of Congress remaining assiduously

neutral about the impact ANCSA was to have on the presence of “Indian country” in

Alaska.32 All this further erodes the myth of a Congress committed in ANCSA to ending

tribal trust land ownership. And it ignores altogether Congress’s affirmative decision to

“recognize[] and affirm[]” the existence of tribal territorial jurisdiction in Alaska. 33


expressly established a test for Alaska “Indian country.” Contrary to the State’s view,
nowhere did the Court view ANCSA as categorically foreclosing Alaska Indian country
either pre-ANCSA or post-ANCSA.
 The State grossly mischaracterizes Venetie as holding that “ANCSA also ended federal
agencies’ authority to take land into trust for individual Indians.” State MSJ at 47. In fact,
the Venetie decision neither speaks generally nor otherwise to “federal agencies’ authority”
to acquire trust lands in Alaska for anyone. What Venetie actually held on the cited page
was that the specific ANCSA fee lands Congress identified for selection by ANCs did not
meet the “federal set aside requirement” that lands must meet in order to qualify as “Indian
country” lands. 522 U.S. at 532. As the State well knows, the Tlingit & Haida trust land
was never ANCSA fee land, and Venetie is therefore irrelevant to the matter before this
Court.
29
     State MSJ at 12 (emphasis added).
30
     Id. at 16 (emphasis added).
31
     See 43 U.S.C. § 1626(d).
32
  See State MSJ at 31 (discussing Pub. L. No. 100-241, §17(a), 101 Stat. 1788, 1814
(1988) (43 U.S.C. § 1601 note)).
33
   25 U.S.C. § 1305(a) (“Congress recognizes and affirms the inherent authority of any
Indian tribe occupying a Village in the State to exercise criminal and civil jurisdiction over
all Indians present in the Village.”); see generally Alaska Tribal Public Safety

                                                    9
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 17 of 39
                                           ARGUMENT

        The truth—not the myth—is that ANCSA was laser-focused on (1) settling

aboriginal land claims that interfered with State land selections and the corresponding

development of North Slope oil deposits and the related construction of the trans-Alaska

pipeline, all on state-selected lands; (2) payment of nearly $1 billion in partial

compensation for the extinguishment of aboriginal titles to those and other lands; and (3)

the terms and conditions upon which 44 million acres would be transferred in fee to Alaska

Native Corporations in further settlement of those aboriginal claims. 34 The truth, not the

myth, is that Alaska Tribes retain considerable personal and territorial jurisdiction across

Alaska. And the truth, not the myth, is that a wide array of Native land holdings exists

today in Alaska, including thousands of trust and restricted fee lands comprising well over

1.2 million acres. Viewed in its proper context, the Secretary’s decision to take a small

parcel of land into trust for Tlingit & Hada is both lawful and unremarkable.




Empowerment Act, Pub. L. No. 117-103, subtit. B, §§ 811–13, 136 Stat. 49, 904–10 (2022)
(codified in part at 25 U.S.C. § 1305); see also id. § 812(1)(B) (directing, with respect to
certain definitions applicable to “Indian country,” that the Attorney General “shall modify
any reference to ‘Indian country’ to mean the [Alaska Native] Village of a participating
Tribe”). As for tribal territorial jurisdiction in Alaska, see generally John v. Baker, 982
P.2d 738 (Alaska 1999); State of Alaska v. Central Council of Tlingit and Haida Indian
Tribes of Alaska, 371 P.3d 255 (Alaska 2016).
34
  “It is important to remember that Alaska Native land and history did not commence with
ANCSA, and that ANCSA did not terminate Alaska Native tribal governments.” Land
Acquisitions in the State of Alaska, 79 Fed. Reg. 76888, 76890 (Dec. 23, 2014). See
generally Robert B. Arnold, ALASKA NATIVE LAND CLAIMS 93-144 (1978).

                                                    10
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

        Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 18 of 39
I.       This Case Does Not Implicate the Major Questions Doctrine.

         The State’s attempt to stretch this case into the “major questions” realm distorts the

doctrine beyond recognition. The major questions doctrine applies in “‘extraordinary

cases’” like those involving “assertions of ‘extravagant statutory power over the national

economy.’”35 The primary cases relied on by the State involved a novel approach to

greenhouse gas emissions that would have “substantially restructure[d] the American

energy market”36 and a loan forgiveness program that would have “canceled roughly $430

billion of federal student loan balances” held by 43 million borrowers, the “economic and

political significance” of which was “staggering by any measure.” 37 Another case relied

on by the State—though not, in fact, a major questions case—addressed the scope of

federal authority over wetlands across the country. 38 Try as it might, the State cannot

credibly compare the Secretary’s exercise of her land-into-trust authority here with the

scale of the actions at issue in those cases.

         To begin with, the impacts of the Secretary’s decision here—while significant for

the Tribe—come nowhere near the sweeping national economic impacts that were central



35
  West Virginia v. E.P.A., 142 S. Ct. 2587, 2609 (2022) (quoting Food & Drug Admin. v.
Brown & Williamson Tobacco Corp., 529 U.S. 120, 159 (2000); Util. Air Regul. Grp. v.
E.P.A., 573 U.S. 302, 324 (2014)).
36
     Id. at 2610.
37
     Biden v. Nebraska, 143 S. Ct. 2355, 2362, 2373 (2023) (quotation omitted).
38
   See Sackett v. E.P.A., 598 U.S. 651, 713–14 (2023) (Kagan, J., concurring)
(distinguishing the major questions doctrine from the different clear-statement rule applied
in the case).

                                                    11
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 19 of 39
to the application of the major questions doctrine in those cases. The Secretary has taken

into trust a driveway-sized parcel in Juneau. Even if the Secretary were to grant the Tribe’s

other pending trust applications, the result would be a mere handful of acres of trust land

added to the 1.2 million acres that are already in trust or restricted status in Alaska. 39 At

the risk of stating the obvious, this is not an “assertion[] of extravagant statutory power

over the national economy.”40

         Nor is this the type of “transformative expansion [of] regulatory authority” that

triggers the major questions doctrine.41 Rather, the Secretary’s action here is a routine

exercise of authority under the Department’s existing land-into-trust regulations. 42 The

Secretary has enjoyed the authority to take land into trust for Indian tribes in the lower 48




39
   Any argument that the court should look at the implications of the Department’s land-
into-trust authority more broadly, see State MSJ at 44–45, are purely speculative and
amount to a facial challenge rather than an as-applied challenge to the Department’s
regulations. Alaska chose not to challenge the Department’s removal of the Alaska
Exception when the Final Rule was issued in 2014, and the 6-year statute of limitations
bars it from doing so now. 28 U.S.C. § 2401.
40
     West Virginia, 142 S. Ct. at 2609 (quotation omitted).
41
  Id. at 2610 (quotation omitted); see also Alaska Indus. Dev. & Exp. Auth. v. Biden, No.
3:21-CV-00245-SLG, 2023 WL 5021555, at *11 (D. Alaska Aug. 7, 2023) (“This is not a
case involving an agency’s assertion of ‘sweeping authority.’”) (quoting Ala. Ass’n of
Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2486 (2021)).
42
     See 25 C.F.R. pt. 151.

                                                    12
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 20 of 39
since the IRA was enacted nearly a century ago, 43 and (as laid out in detail below) the

Alaska IRA expressly extended that authority to Alaska. 44

           And, again, the Department already holds other land in trust or restricted fee status

across Alaska. By taking the Capitol Avenue parcel into trust, the Secretary is not claiming

new or different authority; she is simply exercising authority expressly granted by statute.

The Secretary has exercised this authority all around the country since 1934. By no stretch

can the Department’s decision be considered a “fundamental revision of the statute,

changing it from one sort of scheme of regulation into an entirely different kind,” such that

the major questions doctrine would apply. 45

           The State’s attempts to recharacterize the Secretary’s actions cannot bridge this gap.

Nothing in the Secretary’s decision purports to “rebalance territorial jurisdiction in

Alaska.”46 As noted above, the Secretary already holds thousands of other parcels in

Alaska in trust or restricted fee for other Tribes and individuals. Adding an additional tiny

parcel of trust land does not work a seismic shift in this system.

           Nor does the Secretary’s action “resurrect . . . aboriginal title.” 47 Aboriginal title

refers to a Tribe’s right of use and occupancy on lands that the Tribe has “inhabited from


43
     See 25 U.S.C. § 5108.
44
   Id. § 5119 (“Sections 5101, 5108, 5110, 5111, 5121, 5124, and 5129 of this title shall
after May 1, 1936, apply to the Territory of Alaska.”).
45
     West Virginia, 142 S. Ct. at 2596 (internal alterations and quotation omitted).
46
     State MSJ at 43.
47
     Id.

                                                    13
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

           Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 21 of 39
time immemorial”; it is distinct from fee title.48 Here, the Tribe purchased the Capitol

Avenue parcel in fee and then transferred title to the United States, to be held in trust for

the Tribe.49 It was appropriate for the Secretary to consider the Lingít people’s connection

to the Juneau area in determining whether to take the parcel into trust, but that does not

somehow mean that the Department is resurrecting aboriginal title. 50

         The State’s obscure reliance on Hynes v. Grimes Packing Co. fares no better.51

Hynes was a fishing rights case, addressing whether the Secretary, invoking the since-

repealed Alaska IRA Section 2, could create a reservation for the Karluk Tribe out of the

public domain that included “permanent title or right” to adjacent fishing grounds. 52 The

Court sought a clear statement because the case involved “permanent disposition of federal

property”53—and indeed, it is logical to think that Congress would need to speak clearly if

it intended to divest federal lands or rights from the public domain. But this matter does

not involve the transfer of federal lands or waters to a tribe, either permanently or




48
     County of Oneida v. Oneida Indian Nation, 470 U.S. 226, 234 (1985).
49
     See AR0000001 (Notice of Decision).
50
     See AR0000011 (Notice of Decision).
51
     See State MSJ at 42 (discussing Hynes v. Grimes Packing Co., 337 U.S. 86 (1949)).
52
   337 U.S. at 102. As the Secretary noted in her brief, the reservation in Hynes was created
under Section 2 of the Alaska IRA—which is not at issue in this matter—making Hynes
irrelevant for that reason alone. See Secretary’s brief at 39 n.20.
53
     Hynes, 337 U.S. at 104 (emphasis added).

                                                    14
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 22 of 39
temporarily, nor the granting of fishing rights. Hynes is entirely unhelpful to the matter at

hand.54

         Finally, “the major questions doctrine is a tool for discerning—not departing from—

the text’s most natural interpretation.” 55 As such, like other clear-statement rules, it

“operate[s] . . . to resolve problems of ambiguity and vagueness.” 56 As discussed in detail

below, no such ambiguity is present here. The major questions doctrine therefore has no

role to play.

II.      Even If a Clear Statement Were Needed, the IRA Clearly Gives the Secretary
         this Authority.

         Even if a clear statement were required, the State’s argument nonetheless fails

because the Alaska IRA provides the requisite clarity: it expressly incorporates the land-

into-trust provision of the IRA and applies it to Alaska. The State fails to find a clear

statement not because Congress failed to speak clearly but because the State is looking in

the wrong place: the State is searching for a clear statement in ANCSA when it should be

looking in the IRA. That it comes up empty-handed is both unsurprising and unhelpful in

discerning Congress’s intent.

         In assessing whether there is “a clear congressional statement authorizing an

agency’s action,” “courts must look to the legislative provisions on which the agency seeks


54
   As noted above, supra at 14 & n.49, Tlingit & Haida purchased this land in fee, on the
private market, and then asked the Secretary to hold the parcel in trust on its behalf.
55
     Nebraska, 143 S. Ct. at 2376 (Barrett, J., concurring).
56
     Sackett, 598 U.S. at 713 (Kagan, J. concurring).

                                                    15
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 23 of 39
to rely.”57 Here, the Secretary was clear about the authority on which she relied: “The

Secretary’s authority to place Alaska lands in trust derives from Section 5 of the IRA, as

made applicable by the Alaska IRA.”58 If a clear statement is needed, this Court’s task is

to determine whether Congress spoke clearly in the IRA, as incorporated into the Alaska

IRA. The answer to that question is yes.

         A.     The Grant of Authority in the IRA and the Alaska IRA is
                Exceptionally Clear.

         IRA Section 5, 25 U.S.C. § 5108, grants the Secretary of the Interior broad authority

“in [her] discretion, to acquire, through purchase, relinquishment, gift, exchange, or

assignment, any interest in lands, water rights, or surface rights to lands, within or without

existing reservations . . . for the purpose of providing land for Indians.”        Section 5

specifically provides that “[t]itle to any lands or rights acquired pursuant to this Act . . .

shall be taken in the name of the United States in trust for the Indian tribe or individual

Indian for which the land is acquired.” 59




57
   W. Virginia, 142 S. Ct. at 2622 (Gorsuch, J., concurring); see also id. at 2607-08
(majority op.) (“Where the statute at issue is one that confers authority upon an
administrative agency, that inquiry must be ‘shaped, at least in some measure, by the nature
of the question presented’—whether Congress in fact meant to confer the power the agency
has asserted.” (citation omitted)).
58
  AR0000067 (U.S. Dep’t of Interior, Solic.’s Op. M-37076, The Secretary’s Land into
Trust Authority for Alaska Natives and Alaska Tribes Under the Indian Reorganization Act
and the Alaska Indian Reorganization Act (Nov. 16, 2022), at 37) (citing 25 U.S.C.
§§ 5108, 5119).
59
     25 U.S.C. § 5108.

                                                    16
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

         Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 24 of 39
         Section 1 of the Alaska IRA expressly applies this authority to Alaska, providing:

“Sections 5101, 5108, 5110, 5111, 5121, 5124, and 5129 of this title shall after May 1,

1936, apply to the Territory of Alaska.” 60 It is hard to imagine more specific language.61

And while the FLPMA repealed Section 2 of the Alaska IRA, Congress left Section 1

intact.62 That Congress specifically revisited the Alaska IRA and left Section 1 in place is

a particularly strong indication that Congress intended the Secretary to retain land-into-

trust authority in Alaska.63

         Despite the State’s overwhelming focus on ANCSA, that Act does not alter this

analysis. Since the IRA and the Alaska IRA expressly grant the Secretary authority to take

land into trust in Alaska, the only relevant question is whether ANCSA repealed that

authority. But the State does not argue that ANCSA did so—and the State is correct to

concede the point. ANCSA certainly did not repeal the relevant IRA provisions expressly.

And repeal by implication is a “rarity” that occurs only when there is “an ‘irreconcilable

conflict’” between two statutes.64




60
     25 U.S.C. § 5119 (emphasis added).
61
  The State mentions Section 1 in its historical context but does not cite its codified form,
25 U.S.C. § 5108, perhaps eliding that Section 1 is still the law of the land.
62
     Pub. L. No. 94-579, § 704(a), 90 Stat. 2743 (1976) (repealing § 2 of the Alaska IRA).
63
  Cf. Gross v. FBL Fin. Servs., Inc., 557 U.S. 167, 177 n.3 (2009) (noting that when
Congress amends one provision but not another, courts “must give effect to Congress’
choice”).
64
     Matsushita Elec. Indus. Co. v. Epstein, 516 U.S. 367, 381 (1996) (citation omitted).

                                                    17
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 25 of 39
         That high bar is not met here. As the U.S. District Court for the District of Columbia

correctly concluded in Akiachak Native Community v. Salazar, the IRA is not

irreconcilable with ANCSA because “[i]t is perfectly possible for land claims to be settled

by transferring land and money to tribal corporations, while the Secretary retains the

discretion . . . to take additional lands . . . into trust.” 65

         To the extent the State is suggesting that ANCSA impliedly repealed the IRA

because it “covers the whole subject,” 66 that argument similarly fails. When Congress

enacted FLPMA in 1976, five years after ANCSA, it amended the Alaska IRA by repealing

Section 2 while leaving Section 1 in place.67 If ANCSA had occupied the whole field such

that the Alaska IRA was implicitly repealed, it would not have been necessary for Congress

to expressly repeal Section 2 in FLPMA (nor would it have made sense to repeal only



65
   935 F. Supp. 2d 195, 207 (D.D.C.), vacated as moot sub nom. Akiachak Native Cmty. v.
U.S. Dep’t of Interior, 827 F.3d 100 (D.C. Cir. 2016). Because the District Court’s opinion
was vacated only due to mootness and was not reversed or otherwise criticized by the D.C.
Circuit, see 827 F.3d at 115, the District Court’s reasoning remains persuasive authority.
See Weisberg v. Webster, 749 F.2d 864, 870 (D.C. Cir. 1984) (where case “ha[d] been
vacated on mootness grounds” and thus was not binding, court could choose to consider it
as “enlightening authoritative commentary”); see also Charles Alan Wright & Arthur R.
Miller, FEDERAL PRACTICE AND PROCEDURE § 3533.10.3 (3d ed. 2008) (noting that even
in courts that ascribe no precedential value to opinions that have been mooted, those
opinions are still treated as “persuasive arguments”). The case was found moot because, of
course, the Department itself repealed the Alaska Exception, determining that ANCSA had
not impacted the Department’s authority to take land into trust for tribes in Alaska. Land
Acquisitions in the State of Alaska, 79 Fed. Reg. 76,888, 76,890 (Dec. 23, 2014); see
Akiachak, 827 F.3d at 104–06.
66
     Posadas v. Nat’l City Bank of N.Y., 296 U.S. 497, 503 (1936).
67
     Pub. L. No. 94-579, § 704(a), 90 Stat. 2473, 2792 (1976).

                                                    18
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 26 of 39
Section 2 while leaving Section 1 on the books). At the time FLPMA was passed, Congress

necessarily believed the Alaska IRA was still in effect. With respect to Section 1, which

was not repealed, that remains true today.

         B.     By Definition, Alaska Tribes are “Indians” Pursuant to Section 19.

         Seeking a way around the clear statutory language, the State attempts to

manufacture ambiguity by arguing that one of the four definitions of “Indian” in IRA

Section 19 bars the Secretary from taking land into trust for Alaska Native Tribes, despite

the Alaska IRA’s express incorporation of Section 5. 68

         This argument has no merit. IRA Section 5 authorizes the Secretary of the Interior

to acquire lands in trust for Indian tribes,69 and Congress in the 1936 Alaska IRA expressly

extended this trust acquisition authority to Alaska Tribes. 70 The State’s argument that

Section 19 stands in the way of the Secretary’s 1936 authority to acquire lands in trust for

Alaska Tribes would render Congress’s express extension of Section 5 to Alaska Tribes a

nullity.71



68
     State MSJ at 58-59.
69
     25 U.S.C. § 5108.
70
   See Carcieri v. Salazar, 555 U.S. 379, 392 n.6 (2009) (“Sections . . . 465 . . . and 479 of
this title shall after May l, 1936, apply to the Territory of Alaska” (alteration in original)
(quoting 25 U.S.C. § 473a (now 25 U.S.C. § 5119))); see also Akiachak Native Cmty., 827
F.3d at 102 (recounting this history).
71
  See, e.g., Mountain States Tel. & Tel. Co. v. Pueblo of Santa Ana, 472 U.S. 237, 249
(1985) (rejecting an interpretation under which one statutory provision “would be a
nullity,” based on “the elementary canon of construction that a statute should be interpreted
so as not to render one part inoperative” (citation omitted)).

                                                    19
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 27 of 39
         Section 1 of the Alaska IRA makes crystal clear that “groups of Indians in Alaska

not recognized prior to May 1, 1936, as bands or tribes, but having a common bond . . .

may organize to adopt constitutions and bylaws [etc.]” under the IRA.72 As the Solicitor

noted, Section 1 “brought the Indians and Eskimos ‘fully within the terms’ of the IRA.” 73

As he explained:

         [Carcieri] acknowledged that “[i]n other statutory provisions, Congress
         chose to expand the Secretary’s authority to particular Indian tribes not
         necessarily encompassed within the definitions of “Indian” set forth in
         § [5129],” and cited to numerous statutes as examples in which Sections 5
         and 19 apply to tribes regardless of whether they were under federal
         jurisdiction in 1934.[74]

         The Carcieri Court specifically pointed to the Alaska IRA as an example of such

statutes.75 Accordingly, the Secretary has authority to acquire land in trust for Alaska

Natives pursuant to the Alaska IRA, Alaska Native Tribes need not also fit within one of

the other definitions of “Indian” in Section 19.




72
     25 U.S.C. § 5119.
73
     AR000065 (Solic.’s Op. M-37076, at 35).
74
   AR000065 (Solic.’s Op. M-37076, at 35) (second and third alterations in original)
(quoting Carcieri, 555 U.S. at 392); see also id. at 35-36 (“In footnote 6 of the Carcieri
decision, the Supreme Court cited to the Alaska IRA as an example of one of those statutes
where Congress chose to expand application of the IRA independent of the IRA Section
19 definition of Indian.”); accord Akiachak Native Cmty., 935 F. Supp. 2d at 203 (“Alaska
land-into-trust authority was conferred in [Section 1 of the Alaska IRA].”). Incredibly, the
State mentions Carcieri three separate times without ever acknowledging that Carcieri
cites and discusses the very statute at issue in this case.
75
     Carcieri, 555 U.S. at 392 n.6.

                                                    20
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 28 of 39
         But even putting aside the Alaska IRA, the State’s argument has no merit. The State

points out that the first sentence of Section 19 defines “Indian” in pertinent part as “all

persons of Indian descent who are members of any recognized Indian tribe now under

federal jurisdiction.”76      That is beside the point.         Section 19’s second sentence is

specifically directed to Alaska and is dispositive: it expressly provides that “[f]or the

purposes of this Act, Eskimos and other aboriginal peoples of Alaska shall be considered

Indians.”77 This sentence applies to Tlingit & Haida and all other “aboriginal peoples of

Alaska,” bringing them squarely within the ambit of the IRA. The remaining two sentences

in Section 19 address, respectively, Indians or Tribes occupying a single reservation, and

the meaning of the term “adult Indians.”                 Each of this section’s four sentences is

independent of the others and addresses distinct, albeit related, issues. Contrary to the

State’s reading (and as the Solicitor concluded), the first sentence of Section 19 does not

override the second.78

         The Record of Decision shows the Secretary considered the State’s comments on

the proposed acquisition, and independently agreed with the Solicitor’s conclusion:

         After carefully examining the language of the IRA and the 1936 Amendment
         to the IRA (Alaska IRA), as well as both statutes’ purposes and legislative
         histories, I conclude, consistent with Solicitor’s Opinion M-37076, that

76
     State MSJ at 50 (quoting 25 U.S.C. § 5129).
77
     25 U.S.C. § 5129.
78
  AR000033 (Solic.’s Op. M-37076, at 3) (“Section 19 of the IRA provides a stand-alone
definition of ‘Indian’ applicable to tribes in Alaska, obviating the need to make a [Section
19] Carcieri ‘under Federal jurisdiction’ determination for [Alaska land into trust]
acquisitions”).

                                                    21
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 29 of 39
         Congress’s express application of IRA Section 5 to Alaska in 1936 provides
         specific statutory authority for the Secretary to accept land into trust for
         Alaska Natives and federally recognized tribes in Alaska.[79]

The Secretary’s conclusion is correct. The Court need go no further to uphold the Record

of Decision in this matter.

         C.     Even if the State’s Section 19 Carcieri Test Applied, Tlingit & Haida
                Satisfies It.

         The State’s Carcieri argument is not properly before this Court because the

Secretary did not address it given the inapplicability of the first sentence of Section 19 to

Alaska Tribes. But even if that sentence somehow applied and this argument could be

considered, its application here leads to the same result. This is because the State confuses

two very different terms in Section 19’s first sentence: “recognized Indian tribe” and

“under federal jurisdiction.” Worse yet, the State fails to cite controlling Ninth Circuit

precedent concerning those terms. 80

                1.      Recognition.      First, it is well-established that Section 19’s term

“recognition” simply requires that a Tribe must be recognized at the time the land is taken

into trust—not in 1934, 1936, or at any other time. In County of Amador v. United States

Department of the Interior (which the State fails to cite), the Ninth Circuit held:

         The phrase “recognized Indian tribe now under Federal jurisdiction,” when
         read most naturally, includes all tribes that are currently—that is, at the

79
     AR0000005 (Notice of Decision, at 5).
80
   Cf. State of Alaska v. United States, 2016 WL 1948801 at *7-8 (May 3, 2016) (“The
Court finds that counsel’s refusal to follow binding [Ninth Circuit] precedent . . . was
frivolous,” and that when the United States “asserted that it need not follow binding
precedent in this litigation . . . it acted in bad faith.”).

                                                    22
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

         Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 30 of 39
         moment of the relevant decision—“recognized” and that were “under Federal
         jurisdiction” at the time the IRA was passed.[81]

         As the Solicitor stated, “[p]ut another way, the concepts of ‘recognized’ and ‘under

federal jurisdiction’ in Section 19 are distinct . . . . [T]he IRA does not require that the

agency determine whether a tribe was a ‘recognized Indian tribe’ in 1934; a tribe need only

be ‘recognized’ at the time the statute is applied (e.g., at the time the Secretary decides to

take land into trust).”82 Tlingit & Haida was unquestionably a “federally-recognized tribe”

on November 17, 2022, when the Secretary took the Capital Avenue parcel into trust. 83

Thus, contrary to the State’s argument, Tlingit & Haida would meet any “recognition”

requirement that might apply under the first sentence of Section 19 (although, again, that

sentence is not controlling as to Alaska tribes 84).




81
     872 F.3d 1012, 1026 (9th Cir. 2017).
82
   AR0000703, AR0000725 (U.S. Dep’t of Interior, Solic.’s Op. M-37029, The Meaning
of “Under Federal Jurisdiction” for Purposes of the IRA (Mar. 12, 2014), at 3, 25); see
U.S. Dep’t of Interior, Solic.’s Op. M-37070, Withdrawal of Certain Solicitor M-Opinions,
Reinstatement of Sol. Op. M-37029 The Meaning of ‘Under Federal Jurisdiction’ for
Purposes of the Indian Reorganization Act, and Announcement Regarding Consultation on
“Under Federal Jurisdiction” Determinations (Apr. 27, 2021) (reinstating Solic.’s Op. M-
37029); Littlefield v. U.S. Dep’t of the Interior, ___ F. Supp. 3d ___, 2023 WL 1878470
*3-4 (D. Mass. Feb. 10, 2023) (appeal filed) (citing Solic.’s Op. M-37029).
83
   See AR0000001 (Notice of Decision, at 1). Even if the State’s mistaken view on the
timing of recognition were used, Tlingit & Haida was also indisputably recognized as a
Tribe by Congress in the Tlingit and Haida Claims Authorization Act, which predated the
Alaska IRA by a year. See AR0003320 (Tlingit and Haida Claims Authorization Act, at
§ 8).
84
     Supra at 20-21.

                                                    23
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 31 of 39
                2. “Under the Jurisdiction of the United States.” The State also errs in

asserting that Tlingit & Haida was not “under the jurisdiction of the United States” in 1936.

Although the procedural posture of this case would generally foreclose this inquiry (since

the Secretary correctly did not consider the issue relevant), we respond because the State

goes to such lengths to prove its assertion.

        The Ninth Circuit in County of Amador agreed with the Solicitor’s view that the

appropriate interpretation of “[t]he phrase ‘under Federal jurisdiction’” is “whether the

United States had . . . taken an action or series of actions . . . sufficient to establish or that

generally reflect[ed] Federal obligations, duties, responsibility for or authority over the

tribe by the Federal Government.”85

        The administrative record in this matter is deep and contains a wealth of historical

information on the Government’s exercise of “authority over” Tlingit and Haida, going

back to the 1867 Treaty of Cession with Russia.86 Borrowing from Amador, the United

States consistently took significant and deliberate “actions . . . sufficient to establish or that

generally reflect[ed] Federal obligations, duties, responsibility for or authority over”

Tlingit & Haida (and over Alaska Tribes generally) from 1867 through the present. 87



85
  Cnty. of Amador, 872 F.3d at 1026-27 (emphasis added); see also AR0000723-26
(Solic.’s Op. M-37029, at 23-26).
86
  See AR00003295-4418 (identifying many areas, including health care, education, and
economic development); see also, e.g., AR0004417-18 (U.S. Bureau of Ed., Work of the
Bureau of Education for the Natives of Alaska (1925), at 1-2) (same).
87
  See Tlingit & Haida Indians of Alaska v. United States, 177 F. Supp. 452, 464 (Ct. Cl.
1959) (“Tlingit & Haida”) (“When the [Lingít and Haida] first learned that Alaska had

                                                    24
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

        Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 32 of 39
         First, and conclusively, the Treaty of Cession itself expressly brought all Alaska

tribes under the jurisdiction and authority of the United States by making them subject to

federal Indian laws and regulations: “[t]he uncivilized [Alaska] tribes will be subject to

such laws and regulations as the United States may, from time to time, adopt in regard to

aboriginal tribes of that country.”88

         Second, the United States then took a series of actions to enforce its authority over

Alaska tribes and, in particular, the Lingít and Haida. When the Treaty was signed, the

Russians had a trading settlement and military garrison at Sitka, but otherwise the Lingít

and Haida had “intensive and exclusive use” of Southeast Alaska, “to the exclusion of other

Indians and of white explorers, traders, miners and settlers.” 89 That soon changed under

the United States. The Government’s initial step was to identify and locate the Alaska

tribes mentioned in the Treaty who came under its authority. 90 In 1868, an Army officer

dispatched to Southeast Alaska listed the “Hydahs” [Haida, Prince of Wales Island],

“Tongaas” [Taant’á Kwáan, Ketchikan], “Stikeens” [Shtax’héen Kwáan, Wrangell],



been sold to the United States they objected and advised the United States officials that the
Russians had lived in Alaska territory only with the permission of the natives.”); see also
Jones, Z., Search For and Destroy: U.S. Army Relations with Alaska’s Tlingit Indians and
the Kake War of 1869, ETHNOHISTORY 60:1, at 7 (Winter 2013) (“Jones”) (“[T]he Tlingit
did not recognize Russia as owner of their lands or Russia’s right to sell southeast Alaska”).
88
  AR0004404 (Treaty Concerning the Cession of Russian Possessions in North America,
Russ.-U.S., Art. III, Mar. 30, 1867).
89
     Tlingit & Haida, 177 F. Supp. at 457.
90
  AR0004385-95 (Annual Report of the Commissioner of Indian Affairs for the Year 1868,
Alaska Territory (Sept. 3, 1867), at 308-17).

                                                    25
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 33 of 39
“Kakes” [Keex’ Kwáan, Kake], “Hoidxnous” [Xutsnoowú Kwáan, Angoon], “Awks”

[Áak’w Kwáan, Juneau], “Hoone-ahs” [Xunaa Kwáan, Hoonah], “Chilcahs” [Jilkaat

Kwáan, Klukwan], and “Tacos” [T’aaku Kwáan, Douglas].” 91 All of these are part of

Tlingit & Haida today.

         Third, between 1867 and 1877, the U.S. Army established military bases in

Ketchikan, Wrangell, and Sitka and considerably expanded federal authority over the

Lingít and Haida,92 often by force. In 1869, when traditional customs of retributive justice

collided with “white” law, the United States Navy bombarded and destroyed by fire three

villages of the Keex’ Kwáan [Kake].93 Later that year, the killing of a young Shtax’héen

(Stikine) Kwáan man by Army soldiers and the subsequent retribution killing of a Fort

Wrangell officer by his father resulted in the United States Army bombarding the village

of Ḵaachx̱aana.áakʼw for two days, until the Tribe surrendered the father—who the Army

promptly court-martialed and publicly hanged.94 Thirteen years later, after “the United


91
   Id., AR0004390-92 (original spelling in quotations; modern clan orthography and
location in brackets); see “Traditional Tlingit Country, Tlingit Tribes, Clans and Clan
Houses,”     University     of    Alaska,     Alaska     Native    Knowledge       Network,
http://www.ankn.uaf.edu/ancr/southeast/tlingitmap/TlingitMap.pdf (last visited Oct. 11,
2023). Similarly, in 1875 the Commissioner of Indian Affairs identified the “T’linkets”
Tribe in his report to the Secretary. AR0004167 (Annual Report of the Commissioner of
Indian Affairs to the Secretary of the Interior for the Year 1875 (1875), at 205) (including
the “Yakutats,” “Chilkahts,” “Sitkans,” “Stahkines” and “Haidahs (Kygahni)” as part of
the Tlingit Tribe).
92
     Tlingit & Haida, 177 F. Supp. at 464.
93
     Jones, supra n.87, at 1–3.
94
  Nat’l Park Serv. Am. Battlefield Prot. Program, The 1869 Bombardment of
Ḵaachx̱an.áakʼw from Fort Wrangell: The U.S. Army Response to Tlingit Law, Wrangell,

                                                    26
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 34 of 39
States Navy took over the civil and military government of southeastern Alaska,” 95 another

similar incident resulted in the Navy’s revenue cutter Corwin and the U.S.S. Adams

“shell[ing] and burn[ing] the [Lingít] village of Angoon on the southwestern side of

Admiralty Island at Kootznahoo Inlet.” 96

         Fourth, in 1880, “gold was discovered in considerable quantities at . . . Juneau, in

Tlingit territory.”97 The subsequent Juneau gold rush accelerated in-migration from the

United States and—as noted above—led to the growth of the Juneau Indian Village, site of

the trust parcel now at issue.98 The Government established a land office in Sitka, paving

the way for patented mining claims and transfer of Lingít and Haida land to non-Natives. 99

In 1884, in a striking parallel with the later impetus for ANCSA, because “settlers and

miners . . . were unable to secure legal title” to mining claims and land, Congress passed




Alaska (July 2015), at 46; see also Annual Report of the Department of the Interior,
“Origin of the Kake War” (1870), at 1031.
95
     Tlingit & Haida, 177 F. Supp. at 464.
96
   Shelling of the Alaskan Native American Village of Angoon, October 1882, U.S. Naval
History         and        Heritage        Command           (Oct.       30,      2017),
https://www.history.navy.mil/research/library/online-reading-room/title-list-
alphabetically/s/shelling-of-the-alaskan-native-american-village-of-angoon-october-
1882.html.
97
     Tlingit & Haida, 177 F. Supp. at 464.
98
     Peterson Decl. ¶ 6.
99
  AR0004067 (Act of May 17, 1884 § 8, 23 Stat. 24 (1884); (see also Tlingit and Haida,
177 F. Supp. at 464-65)).

                                                    27
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 35 of 39
the Alaska Organic Act, which permitted claims to be patented “in areas which the Tlingits

and Haida Indians had aboriginally used and occupied.” 100

          The Organic Act extended federal authority even further than before, and “made it

possible for white settlers, miners, traders and businessmen, to legally deprive the Tlingit

and Haida Indians of their use of the fishing areas, their hunting and gathering grounds and

their timber lands and that is precisely what was done. These Indians protested to the

Government and their protests went unheeded. They had no weapons with which to combat

Navy gunboats which had burned their villages when they attempted to take the law into

their own hands.”101

          Fifth, between 1906 and 1909 the United States unilaterally took “some 16,000,000

acres of Tlingit and Haida lands” for the Tongass National Forest, and then took another

“approximately 2,297,598 acres of Tlingit land” for the Glacier Bay National Monument,

all “without compensation and without consent of the Indians, through Presidential

proclamations issued pursuant to [federal] law.”102 The Lingít and Haida, through the

Alaska Native Brotherhood and the Alaska Native Sisterhood, organized in opposition to

this exercise of federal authority and, in 1935, a year before the Alaska IRA was enacted,




100
      Tlingit & Haida, 177 F. Supp. at 464-65.
101
      Id. at 467.
102
      Id. at 466-68.

                                                    28
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 36 of 39
Congress specifically authorized Tlingit & Haida to sue for compensation for loss of the

Tongass—thus confirming, beyond doubt, that the Tribe was under federal jurisdiction. 103

         Reviewing these any many other congressional and judicial developments, the

Solicitor in 1926 concluded that “[Alaska] natives are now unquestionably considered and

treated as being under the guardianship and protection of the Federal Government, at least

to such an extent as to bring them within the spirit, if not within the exact letter, of the laws

relative to American Indians.”104

         Applying the Ninth Circuit’s Section 19 test in County of Amador—“whether the

United States had . . . taken an action or series of actions . . . sufficient to establish or that

generally reflect[ed] Federal obligations, duties, responsibility for or authority over the

tribe by the Federal Government,” Tlingit & Haida was indisputably “under Federal




103
      See AR0003318 (Tlingit and Haida Claims Authorization Act, at § 2).
104
   U.S. Dep’t of Interior, Solic.’s Op., Leasing of Lands within Reservations in Alaska, 49
L.D. 592 (1923), reproduced in II OPINIONS OF THE SOLICITOR OF THE DEPARTMENT OF
THE INTERIOR RELATING TO INDIAN AFFAIRS 1917-1974, at 2076 (“OP. SOLICITOR”),
available at https://thorpe.law.ou.edu/solicitor.html (last visited Oct. 15, 2023); see also
U.S. Dep’t of Interior, Solic.’s Op. M-26915, Status of Alaska Natives, reproduced in I OP.
SOLICITOR 303, 303-04 (quoting same); id. at 304 (“natives of Alaska . . . are all wards of
the Nation and are treated in material respects the same as are the aboriginal tribes of the
United States”), 310 (“it is clear that no distinction has been or can be made between the
Indians and other natives of Alaska so far as the laws and relations of the United States are
concerned whether the Eskimos and other natives are of Indian origin or not as they are all
wards of the Nation, and their status is in material respects similar to that of the Indians of
the United States. It follows that the natives of Alaska, as referred to in the treaty of March
30, 1867, between the United States and Russia, are entitled to the benefits of and are
subject to the general laws and regulations governing the Indians of the United States.”).

                                                    29
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

          Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 37 of 39
jurisdiction” at the time the Alaska IRA was enacted. The State’s argument to the contrary

is incorrect.

                                          CONCLUSION

        In the Alaska IRA Congress conferred upon the Secretary the authority to acquire

land in trust for Tlingit & Haida. That authority has never been repealed, and it was

properly exercised in this matter. For the foregoing reasons and those set forth in the

Secretary’s brief, the State’s motion should be denied and this cross-motion should be

granted.

        Respectfully submitted this 16th day of October, 2023 at Anchorage, Alaska.

                                                SONOSKY, CHAMBERS, SACHSE
                                                 MILLER & MONKMAN, LLP


                                                By:      /s/ Lloyd B. Miller
                                                         Richard D. Monkman
                                                         Alaska Bar No. 8011101
                                                         Lloyd B. Miller
                                                         Alaska Bar No. 7906040
                                                         Whitney A. Leonard
                                                         Alaska Bar No. 1711064

                                                         Attorneys for Intervenor-Defendant




                                                    30
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

        Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 38 of 39
               Certificate of Service

I certify that on October 16, 2023, a copy of the
foregoing document was served via ECF on:

Jessica Moats Alloway
jessie.alloway@alaska.gov

Christopher F. Orman
christopher.orman@alaska.gov

Charmayne Staloff
Charmayne.staloff@usdoj.gov

/s/ Lloyd B. Miller
Lloyd B. Miller




                                                    31
Tlingit & Haida Opening Summ. Judg. Brief
SOA v. Newland et al., Case No. 3:23-CV-00007-SLG

        Case 3:23-cv-00007-SLG Document 21 Filed 10/16/23 Page 39 of 39
